     Case 2:19-cv-13425-WBV-JCW Document 73 Filed 01/06/20 Page 1 of 1




MINUTE ENTRY
WILKINSON, M. J.
JANUARY 6, 2020

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                     CIVIL ACTION

VERSUS                                                       NO. 19-13425

ADMINISTRATORS OF THE                                        SECTION “D” (2)
TULANE EDUCATIONAL FUND

      An in-person settlement conference was conducted on January 3, 2020, before the

undersigned magistrate judge. After follow-up discussions via telephone, the court has

been advised by Ellie Schilling, Ian Atkinson and Samuel Josephs, counsel for plaintiff;

Howard Boyd, in-house counsel for Tulane; and Nan Alessandra and Kim Boyle, counsel

for defendant, that a settlement has been reached. By copy of this minute entry, Judge

Vitter is advised so that she may enter an appropriate conditional dismissal order.




                                                JOSEPH C. WILKINSON, JR.
                                           UNITED STATES MAGISTRATE JUDGE

CLERK TO NOTIFY:
HON. WENDY B. VITTER




 MJSTAR: 0:10
